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                        IN THE UNITED STATES DISTRICT COURT FOR
                               THE DISTRICT OF MARYLAND
                                     (Northern Division)

VINCENT E. JUNE, JR.                                 *
                                                     *
       Plaintiff                                     *
                                                     *
v.                                                   *      Case No.: 1:14-cv-02450-GLR
                                                     *
OFFICER E. THOMASSON, #1855                          *
                                                     *
       Defendant.                                    *
                                                     *
*************************************************************************************
              PLAINTIFF'S RESPONSE IN OPPOSITION TO DEFENDANT'S
         MOTION FOR SUMMARY JUDGMENT AND REQUEST FOR HEARING

       Plaintiff, Vincent E. June, Jr., by and through his undersigned counsel, hereby files this Response

in Opposition to Defendant's Motion for Summary Judgment and respectfully states as follows:

       I.      INTRODUCTION

       This action arises from Officer Eric Thomasson's unlawful atTest and subsequent malicious

prosecution of Plaintiff Vincent E. June, J1'. Specifically, this action involves claims arising under 42

U.S.C. §§ 1983, 1985, and 1998 against Officer Eric Thomasson for his willful and reckless disregard

for Plaintiffs Fomih Amendment rights. Plaintiffs claims center on Defendant's failure to adequately

and appropriately investigate an alleged assault committed upon Antonio Goodwin, and on Defendant's

failure to properly include all relevant information on his warrant affidavit - information that, if

disclosed to the judicial officer, would not have resulted in Plaintiffs arrest, incarceration and

subsequent prosecution. Defendant, at the time a five-day rookie police officer, contends that his actions

were completed with the requisite probable cause. The Defendant is mistaken.




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       Defendant now moves for summary judgment on the basis that Plaintiff has not and cannot prove

that Defendant lacked the requisite probable cause to submit the warrant affidavit to a judicial officer.

To the contrary, Plaintiff can and will prove that Officer Thomasson not only failed to investigate

Plaintiff's readily verifiable alibi, but further that the Defendant himself introduced Plaintiff's name into

the investigation, not the victim. All patiies agree that the victim of the assault, Antonio Goodwin, did

not identify Plaintiff as being involved initially after the assault. Further, all patiies acknowledge that

Plaintiff was at work in a different county when the fight took place, yet he was arrested for alleged

involvement in a matter he knew nothing about.           Moreover, Plaintiff has developed a record of

contradictions and inconsistencies in Defendant's own testimony that requires a credibility

determination to be made by a finder of fact. Accordingly, a genuine dispute of material fact exists with

respect to Plaintiff's claims and Defendant's actions, such that summary judgment is not proper.

       II.     STATEMENT OF FACTS

       In the mid-aftemoon of August 30, 2011, Antonio Goodwin was assaulted by unknown

individuals. See 9.15.11 Statement of Charges, attached hereto as Exhibit A. A passerby happened to

notice Mr. Goodwin being attacked by two individuals, and subsequently summoned police.                  See

9.15.11 Statement of Charges. Police responded, assisted Mr. Goodwin in seeking medical attention,

and began their investigation. Id. The victim identified "Toot" (Taiwan Somerville) and Jamire Sykes

as perpetrators of the assault. Id at 2. Mr. Goodwin did not identify Plaintiff as being involved, never

mentioned Plaintiff, and Plaintiff was not identified by any witness, suspect or third party. See 9.15.11

Statement of Charges, see also 3.20.15 Deposition of Defendant, at 25, 30, 38, 39, 51, 54, attached

hereto as Exhibit B. Police ultimately an'ested Somerville, Sykes and another suspect pursuant to their

investigation, and for an unknown reason, began to believe that Plaintiff was involved. See 9.15.11


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Statement of Charges. At the time that this assault took place, Plaintiff was at work in Baltimore City

and Laurel, Maryland, and was nowhere near the scene of the assault. See 3.20.15 Deposition of

Plaintiff at 11-12,24, attached hereto as Exhibit C.

         Defendant claims that Antonio Goodwin informed either himself or another officer, (Defendant's

statements are contradictory), that Plaintiff was involved in the assault. See Exhibit D, Defendant's

1.28.15 Answer to Plaintiffs Interrogatory No. 10; Exhibit E, Defendant's 5.26.15 Supplemental

Answer to Plaintiffs Interrogatory No. 10.            I   As a result of this infOimation, Defendant alleges that he

confirmed that Plaintiff lived nearby, but asked him no other questions. See 9.15.11 Statement of

Charges. Plaintiff agrees that Defendant came to his home, but states that Defendant asked him his

whereabouts during the time of the alleged assault. See 3.20.15 Deposition of Plaintiff at 36-37.

Plaintiff told Defendant on August 31, 2011, the day after the fight, that Plaintiff was at work at the time

of the fight, a fact that was later proved. See 3.20.15 Deposition of Plaintiff at 36; see also Plaintiffs

3.16.15 Answer to Defendant's Interrogatory No.5, attached hereto as Exhibit F. Defendant returned to

Antonio Goodwin and conducted a photo-line up in an apparent effOli to secure an identification of the

Plaintiff. See 9.15.11 Statement of Charges at 3. According to Defendant, (though directly contradicted

by Antonio Goodwin below), the photo-line was done without prejudice to Plaintiff. See 6.23.15

Affidavit of Defendant at ';7.           As a result of the alleged identification, Defendant filed a warrant

affidavit seeking a warrant for Plaintiffs arrest. See Exhibit A.                      Defendant subsequently arrested

Plaintiff for the assault of Antonio Goodwin. See 3.20.15 Deposition of Defendant at 138-45.

         Plaintiff spent numerous weeks in pre-trial detention before he was able to post bail, not to

mention being confined to months of house atTest. See 3.20.15 Deposition of Plaintiff at 61, 63. When

I Plaintiff has omitted the pOltions of Defendant's Answers to Interrogatories not relevant to Plaintiff's argument, and instead
has included on Defendant's Answer and Supplement to InterrogatOlY No. 10.

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Plaintiff's trial date approached, Plaintiff was able to successfully assert his alibi defense, and the State

of Maryland dismissed the charges nolle prosequi. Id. at 65.

    III. MATERIAL                 FACTS       IN    DISPUTE       RELEVANT         TO     DEFENDANT'S
REQUESTED RELIEF

           Plaintiff identifies the following material facts in dispute related to Defendant's motion for

summary judgment:

           1.     Whether Defendant possessed probable cause to file his warrant affidavit when seeking

against Plaintiff.

           2.     Whether Defendant omitted material facts from his warrant affidavit.

           3.     Whether Defendant acted with malice or reckless disregard when filling his warrant

affidavit.

           4.     Whether Antonio Goodwin named "Vincent" as someone who was involved in the

assault.

           5.     Whether Antonio Goodwin made a statement of his own accord and without undue

influence by the police.

           6.     Whether, at the time Mr. Goodwin made his statement, he believed the Plaintiff

participated in the attack upon his person.

           7.     Whether Mr. Goodwin provided the name "Vincent" to the police as someone who was

involved in the attack on his person because he thought he saw "Vincent".

           8.     Whether Mr. Goodwin selected the photograph of the Plaintiff as one of his attackers.

           9.     Whether Officer Thomasson filled out the application for statement of charges against the

Plaintiff based on Mr. Goodwin's alleged statement identifying Vincent as one of his attackers and

based on Mr. Goodwin's alleged selection of the Plaintiff out of a photographic array.

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          10.      Whether Plaintiff informed Defendant, during the conversation that undisputedly took

place on August 31, 2011, that Plaintiff was at work during the assault.

     IV.   MATERIAL FACTS NOT IN DISPUTE SUPPORTIVE OF PLAINTIFF'S
CLAIMS IN THIS LITIGATION

          1.      Plaintiff was not involved in this assault of Antonino Goodwin that happened on August

30,2011.

         2.       Plaintiff was at work in Laurel, Maryland and Baltimore, Maryland, in the presence of his

co-worker Marquese Wallace, at the time the assault of Goodwin took place.

         3.       Antonio Goodwin identified Somerville and Sykes as having been involved in the assault

when questioned by Defendant, but did not specifically identify Vincent June, Jr.

         4.       Defendant went to Plaintiffs house the day after the assault?

         5.       Even though Defendant was given more than adequate time to answer Plaintiffs

interrogatories, Defendant failed to answer important questions presented therein accurately, truthfully,

and completely despite his representation that his answers were truthful. 3




2 Officer Thomasson claims in his motion that he simply went to Plaintiff's house to verify "that Plaintiff lived there."
Defendant's Motion for Summary Judgment at 3. Plaintiff has consistently maintained that Defendant asked Plaintiff his
whereabouts around the time of the assault, and that Plaintiff provided his verifiable alibi at that time on August 31, 20 II.
See 3.20.15 Deposition of Plaintiff at 36-37. Plaintiff believes that it is more likely than not that a trier of fact would agree
with his version of that encounter and fmd it to be truthful as it comports with common sense and common experience.
Given Defendant's evolving versions of the truth, his assertion that he would present at Plaintiff's home while investigating
an assault, simply ask him if he lived there, and then not ask him where he was the day before seems entirely unbelievable
and lacking in credibility.

3 The day Defendant was deposed, he stated that important pOltions of this Answers to Interrogatories explaining his version
of the events that led to Plaintiffs arrest were inaccurate and false. Defendant provided no reason why these answers were
false, but instead proceeded to contradict himself through answers given in deposition. Plaintiff maintains that absent any
opposition filed, Defendant has created a dispute as to material thcts arising out of discrepancies in his Answers to
Interrogatories and his deposition testimony that, standing alone, should preclude the entry of summary judgment.

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       6.      Plaintiff was imprisoned for almost a month, and subject to months of house arrest, for a

crime he did not commit, and for a crime committed while he was working in another county, far from

the scene of the assault.

       V.      APPLICABLE LEGAL STANDARD

       A trial court should grant summary judgment only upon a showing of no genuine dispute as to

any material fact, and the moving party is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(a).

When seeking summary judgment, the moving party bears the burden of asserting that a fact cannot be

or is not genuinely disputed by the record. Fed. R. Civ. P. 56(c).

       The non·moving party is entitled to all reasonable inferences to be drawn in the light most

favorable to it. Scott v. Harris, 550 U.S. 372,380 (2007). A non·moving party is not required to asselt

evidence in a fOlm that would be admissible at trial, Celotex Corp. v. Catrett, 477 U.S. 317, 324 (1986),

but nonetheless must asselt more than some "metaphysical doubt as to the material facts." Scott, 550

U.S. at 380. All that is necessary to satisfY the requirement of a genuine dispute of fact" ... is that

sufficient evidence supporting the claimed factual dispute be shown to require a jury or judge to resolve

the patties' differing versions of the truth at trial." First National Bank ofArizona v. Cities Service Co.,

391 U.S. 253, 288·89 (1968).

       "Credibility detelminations, the weighing of the evidence, and the drawing of legitimate

inferences from the facts are jury functions, not those of a judge, whether he is ruling on a motion for

summary judgment or for a directed verdict." Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255

(1986). Trial courts should act with caution when granting a motion for summary judgment, and indeed,

should not grant a summary judgment when the better course would be to proceed to trial. Id.




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        V.     ARGUMENT

       Much like his improper influence upon Antonio Goodwin during his underlying investigation,

Defendant Thomasson has employed similar measures in securing the purpOlied "statement" of Antonio

Goodwin utilized in suppOli of his motion for summary judgment (see Exhibit 2 to Defendant's Motion

for Summary Judgment). Mr. Goodwin has attested to the fact that the purported "statement" was

secured by an Anne Arundel County investigator.           In particular, Mr. Goodwin asselis that the

investigator met with his mother outside his presence, never asked him any questions and simply gave

him a piece of paper to sign. Mr. Goodwin, having now reviewed the statement, retracts it and has

provided an affidavit outlining the actual state of affairs, which clearly preclude the entry of summary

judgment in this matter. See Antonio Goodwin's June 12,2015 Affidavit at 4, attached as Exhibit G.

       Accordingly, Defendant's motion must fail as he is impermissibly asking this Honorable COUli to

make credibility and factual detelminations regarding the level of probable cause Defendant possessed

when he instituted the legal process against Plaintiff. At this stage, and for the purposes of this motion,

the sUbjective level of probable cause Defendant possessed is irrelevant. As more fully set forth below,

Plaintiff, through an affidavit of the victim in the underlying matter, as well as the Defendant's multiple

conflicting statements, has generated a genuine dispute as to material fact with respect to whether

Defendant possessed probable cause. Defendant has not met his burden of asseliing that a material fact

cannot genuinely be disputed. Fed. R. Civ. P. 56(c). As such, Defendant's motion must be denied.

       A.     Plaintiff has sufficiently generated a dispute of evidence necessary to submit a claim
for malicious prosecution to the fact-finder.

       While Defendant correctly states the necessary requirements for Plaintiff to successfully allege a

claim for malicious prosecution and essentially concedes that Plaintiff meets two of the three elements,

Defendant is simply incorrect to state that Plaintiff cannot genuinely dispute Defendant's probable cause

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to institute the legal process. As this Honorable Court is aware, a search or seizure done without

probable cause is unreasonable. Brooks v. City of Winston-Salem, 85 F.3d 178, 183 (4th Cir. 1996). To

successfully maintain claim for malicious prosecution, the plaintiff must allege three elements: (I) the

defendant seized the plaintiff, (2) pursuant to a legal process not suppOited by probable cause, and (3)

that the criminal proceedings terminated in plaintiffs favor. Durham v. Horner, 690 F.3d 183, 188 (4th

Cir. 2012). Plaintiff must also assert that the defendant deliberately or' with reckless disregard for the

truth made material false statements in the walTant affidavit. Id. "Reckless disregard can be established

by evidence that an officer acted with a high degree of awareness of a statement's probable falsity ... "

Miller v. Prince George's County, MD, 475 F.3d 621, 627 (2007) (internal quotations omitted). An

officer's omission of certain facts can amount to reckless disregard when the officer "fail[s] to infolTll

the judicial officer of facts he [knows] would negate probable cause." Id. Asseltions of negligence or

innocent mistake do not suffice to wan'ant a constitutional violation. Franks v. Delaware, 438 U.S. 154,

171 (1978) .

      . FUlther the false statements or omitted facts must be material and necessary to the judicial

officer's finding of probable cause. Franks, 438 U.S. at 155-56. To determine whether a fact is

material, the ruling court should insert or omit the fact at issue into the walTant affidavit to then

detelmine whether the COlTect warrant affidavit would establish probable cause. Miller, 475 F.3d at 628.

"Ifthe corrected walTant affidavit establishes probable cause, no civil liability lies against the officer."

Id. (internal quotations omitted).

        1.    Plaintiffs establishment of two (2) elements of his claim for malicious prosecution
cannot reasonably be disputed.

       Plaintiffs evidence clearly establishes that (I) Defendant caused the Plaintiff to be atTested, and

(3) that the related legal proceedings terminated in Plaintiffs favor. Indeed, Defendant acknowledges

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 the evidence of these elements by failing to argue them in his motion, and by stating that "Plaintiff here

 might satisfy elements I and 3 of a malicious prosecution claim ... " Defendant's Motion for Summary

 Judgment at 7. While the Defendant has apparently elected not to admit facts to this Honorable COUli

 that he has already admitted during the course of this case, the evidence clearly establishes that Plaintiff

 meets elements 1 and 3 of a malicious prosecution claim. In fact, Defendant overlooks the fact that he

 admitted in paragraph nine of his Affidavit that he atTested the Plaintiff. See 6.23.15 Affidavit of

 Defendant at 2. Moreover, in Paragraph 16 of his Answer to Plaintiffs Complaint he "admits [that] the

 State of Maryland entered a nolle prosequi on March 9, 2012." While Defendant is his elusive in his

 motion (much like his investigation), there is no question, nor could there reasonably be, that Plaintiff

 has met his burden of establishing elements one and tlu-ee of his claim for malicious prosecution.

 Consequently, Defendant has not met his burden of establishing that no genuine dispute of material fact

. exists with respect to two of the three elements at issue and, as such, is not entitled to the entry of

 judgment as a matter oflaw in terms of these two elements. F. R. Civ. P. 56.

         2.      A genuine dispute of material fact exists regarding Defendant's actions during his
 investigation thereby creating a genuine dispute of material fact as to whether probable cause existed.

        Defendant's entire argument for judgment as a matter of law relies on his self-serving affidavit,

 and on the April 1, 2015 affidavits of the underlying victim, Antonio Goodwin, and Mr. Goodwin's

 mother, Brenda Goodwin (who was not present at the time of the alleged assault). However, all of

 Defendant's supporting evidence is directly contradicted by an affidavit signed by Antonio Goodwin on

 June 12,2015. Antonio Goodwin's June 12,2015 Affidavit, (hereinafter the "Antonio Goodwin 6.12.15

 Affidavit"), directly contradicts Defendant's self-serving testimony regarding the investigation of

 Plaintiff, and further directly attacks the credibility of the April 1, 2015 affidavits (hereinafter the

 "4.1.15 Affidavits", attached as Exhibit H).

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       As this Honorable Court is aware, Plaintiff has asselied that Defendant acted unreasonably and

with reckless disregard during his investigation of the underlying assault. Plaintiff asserts that Antonio

Goodwin did not identifY Plaintiff as one of his attackers on his own accord, but was instead coerced

and influenced to identify Plaintiff by Defendant.       Antonio Goodwin 6.12.15 Affidavit at 3, 4.

Defendant knew of, or recklessly disregarded, material information that, if known to the judicial officer,

would not have resulted in a warrant for Plaintiffs arrest. See 3.20.15 Deposition of Plaintiff at 36-37.

Defendant contradicts these allegations, primarily by stating in his affidavit that: "Mr. Goodwin made

the statement by himself and was not told what to write by the police", and "Mr. Goodwin was not told

by me or anyone else in our presence which photograph was the Plaintiff." 6.23.15 Affidavit of

Defendant at 2.

       Yet, as mentioned above, Defendant's statements are directly disputed by the victim himself in

the 6.12.15 Affidavit, when Goodwin states that he never brought up Plaintiffs name in the

conversations with police, but that police instead first brought up the Plaintiff." See Antonio Goodwin

6.12.15 Affidavit at 3. FUliher, Goodwin states that he did not believe that Plaintiff was involved in the

underlying assault, but instead that police action led him to believe that Plaintiff was involved. Id.

Regarding the photo line-up that Defendant, in pati, based his warrant affidavit upon, Mr. Goodwin

asserts "[t]he investigating officers began asking me about Vince prior to showing me a photo line-up

with Vince in it", and "I signed my name next to the photograph of Vince June as the officer asked me if

I generally recognized anyone, not if I recognized anyone involved in the assault." Ie!. Given the fact

that Goodwin and Plaintiff live in the same neighborhood and are close in age, it is not shocking that

Goodwin would recognize Plaintiff. See 3.20.15 Deposition of Plaintiff at 40-41. That, however, is not

the same as assaulting someone.


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        The 6.12.15 Affidavit is still more damaging to Defendant's motion.          Exhibits 2 and 3 to

Defendant's motion are affidavits apparently obtained by Defense Counselor a County investigator

from Mr. Goodwin and his mother on April I, 2015. However, Mr. Goodwin directly recants the 4.1.15

Affidavits in his 6.12.15 Affidavit by stating that he was not present when the "county investigator" was

present, was not asked questions about the underlying matter, and was simply presented a paper to sign.

ld at 2. Moreover, Mr. Goodwin states that he signed the papers without first reading them, and that the

statements contained on the 4.1.15 Affidavit are not true. ld. Further, the 6.12.15 Affidavit directly

attacks the credibility of the Brenda Goodwin 4.1.15 Affidavit when Mr. Goodwin states that "[m]y

mother, Brenda Goodwin, did not witness the assault, and ftnlher did not witness much of my

interaction with police after the assault."

        F0U11h Circuit case law is clear on this issue: a genuine factual dispute over information omitted

by an officer requires a submission to the fact-finder to detelmine whether the officer's actions were

malicious or made with reckless disregard. Miller, 475 F.3d at 628-29. In lViiller, the Fourth Circuit

reversed the defendant police officer's successful summary judgment motion in a § 1983 action against

the police officer for willful omission of material infOlmation from the warrant affidavit, on the basis

that a reasonable jury could have detelmined that the wan'ant affidavit may have contained

misrepresentations/omissions made deliberately 01' with reckless disregard. ld at 629.          The police

officer defendant failed to inform the warrant-issuing judicial officer of two critical pieces of

information: (1) that he was unable to establish a reasonable link between the suspect's getaway vehicle

and the plaintiff; and (2) that the actual suspect was described by witnesses as a white-male (the Plaintiff

being African American). ld at 628. As a result of the omissions, the Plaintiff was wrongfully arrested,

and sued for his injuries for a Fourth Amendment violation. ld Ruling that the Plaintiff had sufficiently


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stated a case that should have been submitted to a jury, and that the officer's omissions were material,

the COUli stated that "[a]n investigation need not be perfect, but an officer who intentionally or

recklessly puts lies before a magistrate, or hides facts from him, violates the Constitution unless the

untainted facts themselves provide probable cause." [d. at 630-31.

         Finally, a clear genuine dispute exists as to whether Defendant was informed of Plaintiffs alibi

during the time of the assault. During his deposition, Defendant stated that he did not ask Plaintiff

where he was during the time of the assault. 3.20.15 Deposition of Defendant at 83. This is directly

contradicted by Plaintiff, who testified that he told police during the August 31, 2011 initial

conversation that he was at work on the aftemoon of August 30, 2011. 3.20.15 Deposition of Plaintiff at

36-37.

         Taking Mr. Goodwin's statements, and giving Plaintiff the required benefit of the reasonable

inferences drawn therefrom, Harris, 550 U.S.at 380, Plaintiff has created a genuine dispute of material

fact as to whether Defendant's warrant affidavit was made with reckless disregard or malice.

Accordingly, the next question that must be answered is whether the omitted information is material to

the judicial officers finding of probable cause. Franks, 438 U.S. at 155-56.

       3.     A genuine dispute of material fact exists as to whether Defendant would have obtained a
warrant had Defendant not omitted infOlmation.

         It is beyond reasonable dispute that, without Mr. Goodwin's alleged identification of Plaintiff, an

arrest warrant never would have issued for Plaintiff. If the jury finds that Defendant Thomasson falsely

misrepresented his dealings with Mr. Goodwin and that Mr. Goodwin never affirmatively identified

Plaintiff as an attacker without coercion by the police, then there is no person that ever placed Plaintiff

at the scene of the assault. And, in fact, the available evidence in this case establishes that Plaintiff was

at work at the time of the assault (a fact communicated to Defendant Thomasson by Plaintiff).

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Complaint at   ~~   8, 9; 3.20.15 Deposition of Plaintiff at 36-37. While Defendant correctly asserts that

probable cause "requires enough evidence to warrant a man of reasonable caution in the belief that an

offense has been or is being committed," Brinegar v. United States, 338 U.S. 160, 175-76 (1949),

Defendant undermines his own arguments simply because a man of reasonable caution, having

knowledge of Mr. Goodwin's omitted information, would have "entertained serious doubts as to the

accuracy of the information [ ] reported." Miller, 475 F.3d at 629, quoting Wilson v. Russo, 212 F.3d

781, 788 (3d Cir. 2000) (intemal quotations omitted).         Defendant's Application for Statement of

Charges, See Defendant's Motion for Summary Judgement Exhibit 2, as it pertains to the Plaintiff,

contains scant infonnation for a judicial officer to rely upon. In total, only two of six sentences support

Defendant's probable cause:

           1. "A. Goodwin also provided Officer Jackson and 1 the infOlmation on the location of
              Vincent, another suspect."
           2. "1 then presented another photographic line-up was presented to A. Goodwin, he was able
              to positively identify Vincent June."

       See 9.15.11 Statement of Charges at 3. Notwithstanding the inconsistencies contained within

Defendant's multiple conflicting statements made tJu'oughout this litigation, these two asseliions by

Defendant do not, on their own, amount to probable cause when the infOlmation obtained through

Antonio Goodwin's 6.12.15 Affidavit are inserted. Rather, a full and complete disclosure by Defendant

would have stated that Antonio Goodwin did not identify Plaintiff as a suspect directly, nor would he

have, but for the police insistence upon asking Goodwin about Plaintiff, inteljecting Plaintiffs name

into this investigation without any prompting or suggestion from Goodwin himself. Moreover, had

Defendant asserted in his warrant affidavit that Mr. Goodwin only "signed [his] name next to the

photograph of Vince June as the officer asked [him] if [he] generally recognized anyone, not if [he]



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recognized anyone involved in the assault", Antonino Goodwin 6.12.15 Affidavit at 3, there would have

been no basis for the issuance of a warrant for Plaintiffs arrest.

           Perhaps most troubling, no other individual indicated to police that Plaintiff was at or near the

scene of the underlying assault. The actual eyewitness to the underlying assault, a Ms. Cassandra

Yearwood, informed police in her written statement that only two individuals were assaulting Mr.

Goodwin. See 3.20.15 Deposition of Defendant at 38-39. It is not clear from Defendant's multiple

versions of his investigation whether Mr. Goodwin ever identified Plaintiff as being a suspect, and none

of the defendants charged in the underlying matter identified the Plaintiff as being present during the

assault. See 3.20.15 Deposition Defendant at 25, 30, 38, 39, 51, 54. Finally, as mentioned above,

Plaintiff testified that he infOlmed the Defendant that he was at work during the time of the alleged

assault.

           As in il;liller, the foregoing infOlmation omitted by Defendant from his warrant affidavit would

be material to the judicial officer's finding of probable cause, and a "con'ected affidavit would not have

provided probable cause, in light of all the evidence, to arrest plaintiff." Miller, 475 F.3d at 628,

quoting Pierce v. Gilchrist, 359 F.3d 1279, 1293 (lOth Cir. 2004) (internal quotations omitted.). The

missing infOlmation added to the wa11'ant affidavit directly negates any reasonable suspicion that

Plaintiff was involved in the assault on Mr. Goodwin.          A reasonable judicial officer, examining a

complete and tlUe narration of the underlying assault and investigation, would be left puzzled as to why

police would be seeking to charge Plaintiff with a crime. However, even if this Honorable Court is not

wholly convinced that Mr. Goodwin's statements are material to the finding of probable cause, at this

summary judgment stage, this COUli "must take the facts in the light most favorable to the party

asseliing the injury, i.e. Plaintiff." Miller, 475 F.3d at 629-30. Plaintiff has sufficiently alleged a


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genuine dispute as to the level of probable cause Defendant possessed, and the better course in this

matter would be to proceed to trial. Anderson, 477 U.S. at 255 (1986). Defendant's Motion must be

denied.

        B.     Defendant's multiple conflicting statements require a credibility determination by
the fact-finder.

          Defendant essentially asks this Honorable Court to mle that his testimony regarding the

investigation of Plaintiff is fact. However, Defendant's self-serving testimony throughout this litigation

contains numerous contradictions and factual inconsistencies such that his testimony must be submitted

to a fact finder for a credibility determination.       "Credibility of conflicting testimony is not, on a

summary judgment motion, an issue to be decided by the trial judge." Solis v. Prince George IS Cnty.,

153 F. Supp. 2d 793, 801 (D. Md. 2001); quoting Summerlin v. Edgar, 809 F.2d 1034, 1039 (4th

Cir.1987). See also Shaw v. Stroud, 13 F.3d 791,804 (4th Cir.l994) ("[T]he credibility of a deposition

is a question for the jury rather than an issue to be settled at the summary judgment stage.").

          As this Honorable Court is aware, Defendant was deposed on or about March 20, 2015. Prior to

his deposition, Defendant submitted his Answers to Plaintiff's Interrogatories.        Said Answers were

signed under oath by Defendant on or about January 28,2015. See Exhibit D. Moreover, Defendant

testified during his deposition that he was college-educated, read and understood his purported answers,

and understood he was signing them under the penalty of peljury. See 3.20.15 Deposition of Defendant

at 49. As such, Defendant cannot be said to have made any "mistake" concerning his answer to

Plaintiffs IntelTogatory.

          In response to Plaintiffs Interrogatory No. 10, Defendant stated, in part:

                        I traveled to AG's house to interview him. I asked him to write
                 down what happened to him and he made a written statement identifYing
                 Toot, (Tl), and Vincent. Officer DeLoatch then showed AG. a photo

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              lineup with a picture of Tiawan Somerville who was known to have the
              street nickname of "Toot" and asked if he saw anyone associated with his
              assault. He pointed to the picture of Tiawan Somerville and said, "That's
              him. That's Toot." He signed the photograph of Tiawan Somerville. We
              returned to the station.

       See Exhibit D. Defendant testified similarly regarding the written statement at various points

during his deposition, 3.20.15 Deposition of Defendant at 57-58, 102, as well as the at issue wan'ant

affidavit filed on September 15, 2011. In short, Defendant testified on three separate occasions, all

under oath, that Antonio Goodwin personally provided the name "Vincent" to Defendant through a

written statement. A fair and logical reading of Defendant's Answer to Interrogatory also asselis that

Defendant initially traveled to Antonio Goodwin's house with Officer DeLoatch, was present when

Officer DeLoatch completed the photo lineup of Tiawan Somerville, and left Antonio Goodwin's home

with Officer DeLoatch. See Exhibit D.

       However, during his deposition, Defendant contradicted his Answer to Inten'ogatory No.1 0, and

asselied that he was not present during the photo-lineup of Tiawan Somerville, and was not present

when Officer DeLoatch was given the name "Vincent." 3.20.15 Deposition of Defendant at 48.

Obviously aware that his testimony was inconsistent, Defendant finally supplemented his Answer to

Interrogatory No. 10 on May 26, 2015 - the final day of this litigation's discovery period. This

supplemented Answer to Plaintiffs Interrogatory No. 10 now states that Officer DeLoatch performed

the photo-lineup of Tiawan Somerville alone. See Exhibit E. Even more puzzling is Defendant's

removal from his Supplemental Answer of any mention of a written statement obtained directly by

Defendant from Mr. Goodwin. Id Instead, Defendant now asselis that Mr. Goodwin provided the name




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"Vincent" to Officer DeLoatch. 4 [d. That statement is not admissible evidence, such that it cannot form

the basis for summary judgment purposes. Almost incredulously, even after the omission of the Antonio

Goodwin statement from his nal1ative, Defendant still asserts Antouio Goodwin's statement as evidence

for his Summary Judgment Motion.

          Moreover, Defendant admits that Officer DeLoatch's supplemental report was not immediately

provided to him, See 3.20.15 Deposition of Defendant at 44, even though Defendant relied on the

supplemental report in his wan'ant affidavit. s See Exhibit 9.15.11 Statement of Charges at 2-3. When

questioned regarding this inconsistency, Defendant admitted that he had placed information within his

walTant affidavit not supported by or based upon his own personal knowledge, knowingly in direct

contradiction to the affirmation required on the walTant affidavit itself.                   See 3.20.15 Deposition of

Defendant at 41-42. When questioned about various violations of procedures and practices governing

his investigation, Defendant acknowledged that he did not follow the applicable procedures regarding

direct quotes in Mr. Goodwin's statement, [d. at 66, 120, and with the photo-lineup of the Plaintiff. [d

at 104.

          Defendant's counsel, when made aware of the inconsistencies of Defendant's testimony during

Defendant's Deposition, attempted to asseli that any alleged inconsistencies were the result of "the

lawyers mistake" and that "the information supplied in the answers is not based solely upon the

knowledge of the executing party, but includes knowledge of the party's agents, representatives,

4 Based upon the clearly inconsistent testimony by Defendant regarding the events of his investigation, as well as the
affidavits obtained by Antonio Goodwin, Plaintiff believes that Defendant has realized that his investigation did indeed lack
sufficient probable cause to seek charges against Plaintiff. To combat this realized error, Defendant has apparently sought to
change his story by providing yet another avenue of connecting Plaintiff to Antonio Goodwin.
5 Officer DeLoatch, in his supplemental repOlt, stated that he conducted the photo line-up of Taiwan Sommerville. However,
in his warrant affidavit, Defendant asserts that: "[u]pon release, A. Goodwin was presented with a photo lineup which he
positively identified Tiawan 'Toot' Sommerville as one of the suspects." See 9.15.11 Statement of Charges. It is worth
noting that Officer DeLoatch has not submitted an Affidavit attesting to any of these assertions or authenticating his report.
Plaintiff asserts, therefore, that the infonnation utilized by the Defendant is not admissible and is insufficient to support
summary judgment.

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attomeys and unless privileged, using infOlmation from the narratives and the police report." See

3.20.15 Deposition of Defendant at 48,62.

       Defense Counsels' assertions are immaterial. As this Honorable Court is well aware, Federal

Rule of Civil Procedure 33 requires interrogatories to be answered fully, under oath, and signed by the

party making the answers. Fed. R. Civ. P. 33. Defendant conclusively admitted the he was college-

educated, read his answers to the interrogatories before he signed them, and that he fully understood

them. See 3.20.15 Deposition of Defendant at 47, 49. FUlther, Defendant cannot assert that he was

unaware of the "Officer DeLoatch" supplemental report at the time that he answered Plaintiffs

interrogatories, as Defendant produced documentation regarding Office DeLoatch contemporaneously

with his Answer to Interrogatories.      And, as a police officer, Defendant should fully appreciate

providing testimony under oath.

       Defendant has received multiple chances to provide his full and complete factual recitation of the

underlying events, yet he has provided two different accounts of the events surrounding Mr. Goodwin's

assault. The net effect of these inconsistencies is that Plaintiff, this Court, and a reasonable juror,

looking at all of the facts, testimony, and reasonable inferences, would not be able to sufficiently state

when, if at all, Antonio Goodwin mentioned Plaintiffs name. This alone precludes Defendant from

summary judgment.

       The persuasive value of Defendants inconsistent statements, as well as his seemingly endless

omissions, are not properly evaluated by this court on this Motion. Defendant's testimony must be

examined by a jury, and only a jury can decide what, if anything, to credit Defendant's testimony. At

this stage, Plaintiff is entitled to the reasonable inference that juror would not credit Defendant's




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testimony. In light of the various credibility determinations at issue and the genuine disputes of material

facts, the Defendant's Motion should be denied.

                                            CONCLUSION

       Numerous genuine disputes of material fact exist between Defendant's inconsistent testimony,

statements from the victim, and Plaintiffs own testimony. Whether Plaintiff can ultimately persuade the

fact finder of Defendant's malicious prosecution is not at issue at this summary judgment stage, for at

this stage, this Honorable Court is not called upon to decide facts. All that matters is that Plaintiff has

asselied a genuine dispute as to the material facts necessary for his claims, which he has done. Thus,

Defendant's motion must be denied.

                                             HENDERSON LAW, LLC



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                                                   Vincent E. June, Jr.

Dated: July 10, 2015




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                                    CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this lOth day of July, 2015 a copy of the foregoing Plaintiff's

Response in Opposition to Defendant's Motion for Summary Judgment and Request for a

Hearing was sent via first-class mail, postage prepaid to:

       Phillip E. Culpepper, Esq.
       Jay H. Creech, Esq.
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                                                    ~~
       Counsel for Defendant
                                             By:                P1).------.>
                                                   Wes P. Henderson




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                                   POINTS AND AUTHORITIES


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